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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: 2:22-cv-14102-DMM


  DONALD J. TRUMP,

                 Plaintiff,

  v.

  HILLARY R. CLINTON, et al.,

              Defendant.
  __________________________________/


              PLAINTIFF’S MOTION TO DISQUALIFY JUDGE MIDDLEBROOKS

         The Plaintiff, DONALD J. TRUMP, by and through his undersigned counsel, hereby files

  his Motion to Disqualify The Honorable Donald M. Middlebrooks, United States District Judge

  for the Southern District of Florida, under 28 U.S.C. § 455, and as grounds for disqualification

  states as follows:

         1.      The Plaintiff files this Motion for Disqualification of the Honorable Donald M.

  Middlebrooks under 28. U.S.C. § 455(a).

         2.      The basis for the disqualification of the presiding Judge is that Donald M.

  Middlebrooks was nominated to his current position as a Federal Court Judge, on January 7,

  1997, by the then 42nd President of the United States, William J. Clinton.

         3.      William J. Clinton and the Defendant, HILLARY CLINTON, are presently

  husband and wife. HILLARY CLINTON was married to William J. Clinton, during the time her

  husband nominated Judge M. Middlebrooks to his current position, as Federal Court Judge, and




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  HILLARY CLINTON acted as First Lady of the United States, during the time of the Judge’s

  nomination.

         4.      Due to the fact that the Defendant, HILLARY CLINTON is being sued by her

  former opponent for the United States Presidency, an election that she lost, regarding serious

  allegations on her part, as well as her allies, of engaging in fraudulent and unlawful activities

  against the Plaintiff, and because her husband nominated Judge Middlebrooks to the Federal

  Bench, there exists a reasonable basis that Judge Middlebrooks’ impartiality will be questioned.

         5.      28 USC 455 provides that “(a) Any justice, judge, or magistrate judge of the

  United States shall disqualify himself in any proceeding in which his impartiality might

  reasonably be questioned.”

         6.      Due to the fact that Judge Middlebrooks has a relationship to the Defendant,

  HILLARY CLINTON’s husband, by way of his nomination as Judge to this Court, this amounts

  to prejudice so virulent or pervasive as to constitute bias against a party. See Hamm v. Members

  of Bd. Of Regents, 709 F.2d 647, 651 (11th Cir. 1983); Davis, 517 F. 2d at 1052.

         7.      Moreover, the Plaintiff is unaware of the exact extent of the relationship between

  Judge Middlebrooks and the Defendant, HILLARY CLINTON, herself, who acted as First Lady

  of the United States, during the time of the Judge’s nomination to Federal Court Judge.

         8.      The Plaintiff is also unaware if the Judge has current relationship with either the

  Defendant, HILLARY CLINTON, or her husband, and how far back the relationship has existed.

         9.      In this circuit, “the test for determining whether a judge’s impartiality might

  reasonably be questioned is an objective one and requires asking whether a disinterested

  observer fully informed of the facts would entertain a significant doubt as to the judge’s

  impartiality.” Bivens Gardens Office Bldg., Inc. v. Barnett Banks of Fla., 140 F.3d 898, 912 (11


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  Cir. 1998) (citing Diversified Numismatics, Inc. v. City of Orlando, 949 F.2d 382, 385 (11 Cir.

  1991).

           10.    There is no question that Judge’s Middlebrooks’ impartiality would be questioned

  by a disinterested observer, fully informed of the facts, due to Judge’s relationship with the

  Defendant, either, individually, or by the very nature of his appointment to the Federal Bench, by

  the Defendant’s husband.

           11.    The most important issue is not simply that justice must be done, but also that

  justice must appear to be done. This could not be more important in a case like the above styled

  cause, where wrongs in regard to a presidential election are to be redressed.

           12.    Due to the reasonable questioning of the Judge’s impartiality, based on the

  Judge’s nomination as a Federal Court Judge, the Honorable Judge Middlebrooks should be

  disqualified from this Case, and should recuse himself from acting in any capacity in this subject

  litigation.

           WHEREFORE, the Plaintiff, DONALD J. TRUMP, respectfully requests that the

  Honorable Donald J. Middlebrooks be disqualified from the above styled litigation, and that he

  recuse himself from acting in any capacity, whatsoever, in this subject litigation, and any other

  relief this Court may deem just and proper.

                   CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(3)

           The undersigned counsel has not conferred with counsel(s) for the Defendant(s) in a good

  faith effort to resolve the issues raised in this Motion, as no appearances have been filed for any

  of the Defendants.




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  Dated: April 4, 2022

  Respectfully submitted by:

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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  filed this 4th day of April 2022, with the Clerk of Court using CM/ECF, which will send a notice

  of electronic filing to all Parties listed on the Service List.


                                                                      /s/ Peter Ticktin_____
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